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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF
                          PENNSYLVANIA

CHRISTOPHER J. HADNAGY,
individually and on behalf of
SOCIAL-ENGINEER, LLC,
                                       No. 2:22-cv-03060-WB
           Plaintiffs,
                                       Defendants’ Memorandum of Law
     v.                                in Support of Motion to Dismiss
                                       for Lack of Personal Jurisdiction
                                       and Failure to State a Claim
JEFF MOSS, and
DEF CON COMMUNICATIONS,                Oral Argument Requested
INC.,

           Defendants.
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I.    INTRODUCTION
      Plaintiff Christopher Hadnagy’s Complaint (Dkt. 1; “Compl.”)

 should be dismissed for lack of personal jurisdiction over Defendants. In
 addition, the Complaint alleges conduct by Defendants that is neither
 unlawful nor actionable.

      Each year, Defendants Jeff Moss and Def Con Communications
 (“Def Con”) host one of the largest and most influential information and
 computer security conferences in the country. The event, known as Def
 Con, is the preeminent industry gathering of “hackers” and draws tens of
 thousands of attendees annually.
      Mr. Hadnagy was one of them—until February 9, 2022, when Def

 Con issued a statement banning Mr. Hadnagy and his company, Social-
 Engineer LLC (“S-E”), from future Def Con events. Def Con had received
 multiple reports about Mr. Hadnagy violating Def Con’s code of conduct.
 Def Con had investigated the reports, conferred with the reporting
 parties and with Mr. Hadnagy, and determined that the severity of the
 reported transgressions warranted a ban from Def Con events. Def Con
 posted a two-sentence update on its blog stating as much.
      Mr. Hadnagy has levied from this statement a dizzying array of
 intentional tort claims—including defamation, tortious interference with
 contract, and intentional infliction with emotional distress—and, loudly
 trumpeting his status as a victim of “cancel culture,” seeks punitive
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  damages to boot. He filed these meritless claims in Pennsylvania on the
  supposed bases that S-E does business here and because the Def Con

  website is accessible here. These scantiest of reeds do not support
  personal jurisdiction over Defendants. And even if they did, Mr.
  Hadnagy’s claims are inadequately pleaded, substantively flawed, and
  should be dismissed with prejudice under Rule 12(b)(6).
II.    BACKGROUND

       Defendant Jeff Moss is the founder of Def Con, which conducts an
  annual hacker conference in Las Vegas, Nevada (the “Event”). Compl. ¶¶
  7, 9. The Event is one of the world’s largest hacker conventions, and it
  typically hosts professionals to speak about IT-related or hacking-related
  subjects. Id. ¶ 26. Attendees include law enforcement agencies and
  representatives from large corporations. Id. ¶ 31. The Event is highly
  regarded in the tech industry and has grown exponentially since its
  inception in 1993. Id. ¶ 32.
       Def Con implemented a conference code of conduct (“Code of
  Conduct”) in 2015. Id. ¶ 34. The Code of Conduct prohibits “harassment,”

  which includes “deliberate intimidation and targeting individuals in a




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manner that makes them feel uncomfortable, unwelcome, or afraid.”1,2
The Code of Conduct applies to “everyone,” and Def Con explicitly

reserves the “right to respond to harassment in the manner we deem
appropriate, including but not limited to expulsion[.]” Id.
        Starting in 2017, Def Con began to publicly share a summary of
incidents that happened at the Event for a given year (the “Transparency
Report”).3 Mr. Moss’s express hope “is that by doing this DEF CON will
encourage other conventions to duplicate this reporting and share their
data so collectively we can shed some light on the challenge we face in
creating more safe and inclusive events.” Id. (typo fixed).
        The Event hosts a multitude of “villages,” which are breakout
sessions that invite smaller groups of attendees to participate in
cybersecurity challenges and demonstrations related to different topics.




1Mr. Hadnagy relies upon the Code of Conduct and the Transparency
Report (discussed below) in the Complaint and, as such, the Court may
properly consider them on a motion to dismiss. Pryor v. Nat’l Collegiate
Athletic Ass’n, 288 F.3d 548, 560 (3d Cir. 2002) (stating that “documents
whose contents are alleged in the complaint and whose authenticity no
party questions, but which are not physically attached to the pleading,
may be considered” on a motion to dismiss.)

2   A correct copy of the Code of Conduct is attached as Exhibit 1.

3   A correct copy of the Transparency Report is attached as Exhibit 2.


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Id. ¶ 27. Mr. Hadnagy hosted a village focused on social engineering (the
“SEVillage.”)4 Id. ¶¶ 39, 41.

      In January 2022, Def Con informed Mr. Hadnagy that neither he
nor S-E could attend or participate in future Events based on certain
reported violations of Def Con’s Code of Conduct. Id. ¶¶ 48–49. On

February 9, 2022, Def Con published an updated Transparency Report
announcing Mr. Hadnagy’s ban from future Events (the “Ban
Announcement”).
      The Ban Announcement, which constitutes the entirety of the
alleged defamation in this case, states:

      We received multiple [Code of Conduct] reports about a DEF
      CON Village leader, Chris Hadnagy of the SE Village. After
      conversations with the reporting parties and Chris, we are
      confident the severity of the transgressions merits a ban from
      DEF CON.
Id. ¶ 55.
      Per Mr. Hadnagy, the Ban Announcement kicked off a cavalcade of
horribles. According to Mr. Hadnagy, “[i]t is believed and therefore

averred that due to the vague but troubling statement . . . many have
assumed” that Mr. Hadnagy perpetrated sexual misconduct or other
“abhorrent” behavior. Id. ¶¶ 58–59 (emphasis added). According to the

Complaint, the Ban Announcement, which Mr. Hadnagy characterizes as
“vague but scathing,” “inescapably implies” that Mr. Hadnagy’s conduct

4  Social engineering relates to human error and the threat it poses to
information security. Id. ¶ 41.
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   was “outrageous.” Id. ¶¶ 75, 77. Mr. Hadnagy alleges that the Ban
   Announcement “falsely accuses him of what could only be despicable

   conduct, in order to harm his reputation[.]” Id. ¶ 78 (emphasis added).
   Mr. Hadnagy further alleges that Defendants knew about his contracts
   with third parties and issued the Ban Announcement to harm these
   business relationships for Defendants’ benefit. Id. ¶¶ 93–94, 96.
        On August 3, 2022, Mr. Hadnagy filed this lawsuit.
III.    LEGAL STANDARD

        A Rule 12(b)(2) motion to dismiss for lack of personal jurisdiction
   “is inherently a matter which requires resolution of factual issues outside
   the pleadings.” Patterson by Patterson v. F.B.I., 893 F.2d 595, 603 (3d Cir.
   1990). Once the defense has been raised, then the plaintiff must sustain
   its burden of proof in establishing jurisdictional facts through sworn
   affidavits or other competent evidence. Id. at 603–04.

        Under Rule 12(b)(6), a court conducts a two-step inquiry to test the
   legal sufficiency of the complaint. First, well-pleaded facts are accepted
   as true, while mere legal conclusions may be disregarded. Fowler v.
   UPMC Shadyside, 578 F.3d 203, 210–11 (3d Cir. 2009). Once the well-
   pleaded factual allegations have been isolated, the court must determine
   whether they are sufficient to show a “plausible claim for relief.” Ashcroft

   v. Iqbal, 556 U.S. 662, 679 (2009). A claim “has facial plausibility when
   the plaintiff pleads factual content that allows the court to draw the



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  reasonable inference that the defendant is liable for the misconduct
  alleged.” Id. at 678.

IV.     ARGUMENT
        A. The Court lacks personal jurisdiction over Defendants.
        The Court should dismiss all of Mr. Hadnagy’s claims for the simple
  reason that there is no personal jurisdiction to litigate his claims.
  Personal jurisdiction can be either general or specific. General
  jurisdiction permits the court to exercise jurisdiction over all claims
  against a defendant because the defendant is essentially at home in the
  forum; specific jurisdiction allows the court to exercise jurisdiction only

  over a defendant’s forum-related activities. Kelly v. Vertikal Press, Ltd.,
  No. CV 20-2315, 2020 WL 6395459, at *1 (E.D. Pa. Nov. 2, 2020). Mr.
  Hadnagy (quite correctly) does not assert that this Court has general
  jurisdiction because there are “no allegations to show that Defendant’s
  affiliations with [Pennsylvania] are so continuous and systematic as to
  render it essentially at home in this forum.” Id. at *2 (cleaned up). So the

  inquiry turns on whether the Court has specific jurisdiction over
  allegedly forum-specific activities.
        Determining whether specific jurisdiction exists involves a three-

  part inquiry. Marten v. Godwin, 499 F.3d 290, 296 (3d Cir. 2007). First,
  the defendant must have “purposefully directed his activities” at the
  forum. Id. (internal quotations and citation omitted). Purposeful
  direction requires “a deliberate targeting of the forum.” O’Connor v.

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Sandy Lane Hotel Co., 496 F.3d 312, 317 (3d Cir. 2007). The unilateral
activity of those who claim some relationship with a nonresident

defendant is insufficient. Id. “And contacts with a state’s citizens that
take place outside the state are not purposeful contacts with the state
itself.” Id.
      Second, the plaintiff’s claim must “arise out of or relate to” at least
one of those specific activities. Id. Whether a plaintiff’s claims “arise out
of or relate to” the activities directed at the state “depends . . . on the type

of claim brought.” Harvey A. Kalan, M.D., Inc. v. Koresko Fin. LP, No. CV
14-5216, 2020 WL 1853468, at *3 (E.D. Pa. Apr. 13, 2020) (citing
Danziger & De Llano, LLP v. Morgan Verkamp LLC, 948 F.3d 124, 130
(3d Cir. 2020)). For tort claims, “[t]he defendant must have benefited
enough from the forum state’s laws to make the burden of facing
litigation there proportional to those benefits.” Id. at *3 (citation
omitted). For intentional torts specifically, “[t]he defendant must have
expressly aimed its tortious conduct at the forum to make the forum the
focal point of the tortious activity. And the plaintiff must have felt the
brunt of the harm in the forum.” Id. (citation omitted).
      Finally, courts may consider additional factors to ensure that the
assertion of jurisdiction otherwise “comports with fair play and
substantial justice.” Id. (internal quotations and citation omitted).
      By this standard, the Court lacks jurisdiction to hear this dispute
because Def Con did not “purposefully direct” at Pennsylvania the

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conduct over which Mr. Hadnagy sues and because Mr. Hadnagy’s claims
do not “arise out of or relate to” Def Con’s alleged contacts with

Pennsylvania. To attempt to get around these jurisdictional defects and
litigate in his preferred venue, Mr. Hadnagy presents a two-part theory
of personal jurisdiction. First, according to Mr. Hadnagy, this Court has
jurisdiction because his company is based in Pennsylvania and was
allegedly solicited by Defendants to participate in the Def Con event.
Compl. ¶ 23. Second, Mr. Hadnagy asserts that the Court must have

jurisdiction simply because Def Con has a website accessible to
individuals who live in Pennsylvania (as well as everywhere else in the
United States). Id. at ¶ 22. Neither theory passes muster under the well-
recognized effects test, and the Court should dismiss these claims for lack
of jurisdiction.

            1.       Mr. Hadnagy’s “solicitation” theory does not establish
                     personal jurisdiction.
      Mr. Hadnagy’s “Defendants solicited me to attend Def Con” theory
does not create personal jurisdiction. Because Mr. Hadnagy exclusively
pleaded intentional tort claims, he must satisfy the “effects test”
described in Danziger to demonstrate personal jurisdiction, which
requires him to show that Defendant expressly aimed its alleged

misconduct at Pennsylvania. But Mr. Hadnagy has failed to plead the
“express aiming” element of the effects test, and he could not plausibly
do so if he tried.

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      Recent Third Circuit authority requires courts to apply the effects
test when assessing defendants’ challenges to personal jurisdiction in

intentional tort cases. Danziger, 948 F.3d at 130 (“Intentional torts
require” an allegation of express aiming of the tortious conduct at the
forum); see also Kyko Glob., Inc. v. Bhongir, 807 F. App’x 148, 151–52 (3d
Cir. 2020) (“Because fraud is an intentional tort, we examine the exercise
of jurisdiction . . . using the effects test[.]”) (cleaned up). And to establish
that a given defendant “expressly aimed” their conduct, the plaintiff has

to point to specific activity directed at the forum. Marten, 499 F.3d at 297–
98 (emphasis added).
      Mr. Hadnagy has not and cannot point to Defendants’ specific
activity targeted at Pennsylvania. Defendants posted their allegedly
defamatory statement on the Def Con blog, which is not “expressly
aimed” at Pennsylvania. See Noah Bank v. Sunday J. USA Corp., No. CV
18-1413, 2018 WL 6622999, at *4 (E.D. Pa. Dec. 18, 2018) (Beetlestone,
J.) (applying effects test and finding that allegedly defamatory statement
posted on website accessible in Pennsylvania was not targeted at
Pennsylvania and did not create personal jurisdiction here). Likewise,
the mere fact that S-E is based in Pennsylvania does not create personal
jurisdiction here, as Third Circuit precedent makes clear. See IMO
Indus., Inc. v. Kiekert AG, 155 F.3d 254, 265 (3d Cir. 1998) (applying
effects test and asserting knowledge that the plaintiff resides in and



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would experience harm in Pennsylvania is insufficient to satisfy the
“express aiming” element.)

     There is no plausible allegation of “express aiming,” so Mr.
Hadnagy’s “solicitation” theory is fatally flawed.

           2.     Operating the Def Con website does not establish personal
                  jurisdiction.
     Mr. Hadnagy’s “operation of website” theory fares no better. It fails
on the same effects-test-related grounds as the “solicitation” theory. And
it’s additionally flawed because even setting the lack of “express aiming,”
Mr. Hadnagy’s claims do not arise out of or relate to any solicitation of
Pennsylvania residents via the Defcon.org website.
     Recent precedent illustrates the point. In Hepp v. Facebook, 14
F.4th 204, 208 (3d Cir. 2021), the Third Circuit rejected the plaintiff’s
contention that the defendants’ unrelated contacts with Pennsylvania

created personal jurisdiction for her unauthorized use of name and
likeness claim. The plaintiff alleged that the defendants targeted their
advertising business at Pennsylvania; one defendant had an online store
that sold products to Pennsylvanians; and the other defendant had an
online community organized around Philadelphia. Id. But the alleged
contacts did not relate to the misappropriation of the plaintiff’s image, so

the Third Circuit held that there was no personal jurisdiction over the
defendants. Id.



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     As in Hepp, Mr. Hadnagy’s claims have nothing to do with
Defendants’ “alleged efforts to solicit attendance at the Event throughout

the Commonwealth[.]” Compl. ¶ 22. Mr. Hadnagy does not plead, for
example, that he made a conference-related contract with Defendants
because of these attendance-solicitation efforts, or that Defendants
defrauded Mr. Hadnagy in these solicitations about the conferences, or
anything to this effect. His defamation-related tort claims exist entirely
independently of Defendants’ “efforts to solicit attendance at the Event

throughout the Commonwealth[.]” They do not arise out of or relate to
Defendants’ alleged solicitation of Pennsylvania residents through the
Defcon.org website, so they do not support personal jurisdiction.

     B.    Mr. Hadnagy’s claims also fail as a matter of law.

     Mr. Hadnagy’s claims lack substantive merit even ignoring the
unequivocal lack of personal jurisdiction for them. His alter ego
allegations against Mr. Moss are threadbare even in the most generous
reading and do not come within shouting distance of plausibility under
Iqbal and Twombly. Likewise, the claims against Def Con for (1)

defamation and false light, (2) tortious interference with contract, and (3)
intentional infliction of emotional distress are inadequately pleaded, and
dismissal with leave to amend will not cure their legal defects. The
Complaint should be dismissed with prejudice.
           1.    The alter ego claims against Mr. Moss.



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     Mr. Hadnagy pleads in an entirely conclusory fashion that Mr.
Moss is the alter ego of Def Con and is thus “liable for the obligations,

debts, and liability of Defendant DEF CON arising under this
Complaint.” Compl. ¶¶ 12–18. This is inadequate to state claims against
Mr. Moss individually. Since Mr. Hadnagy has not and cannot plead
plausible facts supporting his alter ego contention, the claims against Mr.
Moss should be dismissed with prejudice.
     To pierce the corporate veil, one must demonstrate “that a

corporation’s affairs and personnel were manipulated to such an extent
that it became nothing more than a sham used to disguise the alter ego’s
use of its assets for his own benefit in fraud of its creditors.” Kaplan v.
First Options of Chi., Inc., 19 F.3d 1503, 1521 (3d Cir. 1994).
“[A]verments reciting elements of the veil-piercing test, without any
supporting facts, constitute legal conclusions. Even under a notice
pleading standard, as interpreted in Twombly, such averments cannot
support a veil-piercing claim.” Malone v. Weiss, No. CV 17-1694, 2018 WL
827433, at *2 (E.D. Pa. Feb. 12, 2018) (citation omitted).
     Mr. Hadnagy’s alter ego allegations are fatally defective because (1)
they are mere recitations of the factors of the veil-piercing test, and (2)
they are pleaded on information and belief. See, e.g., Compl. ¶ 13 (listing
factors of veil-piercing test without supporting factual allegations; id. ¶¶
12–13, 15 (alter ego allegations are pleaded on information and belief).



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This Court dismissed recently dismissed veil-piercing claims on precisely
these grounds. See Malone, 2018 WL 827433, at *2–3.

           2.    The defamation and false light claims.5

     Mr. Hadnagy alleges a panoply of grievances: among other things,
he is the victim of “cancel culture,” Compl. ¶ 67; Def Con falsely concocted

the Ban Announcement to force the transfer of the SEVillage into the
hands of third parties (for unexplained reasons), id. ¶¶ 53–54; and the
Ban Announcement caused speculation that Mr. Hadnagy had sexually
harassed or assaulted someone or engaged in “abhorrent” behavior, id.
¶¶ 58–59. These allegations are insufficient to state a claim for
defamation or false light.

     To prevail on the merits of a defamation claim, plaintiffs must
prove: (1) the defamatory character of the communication; (2) publication
by the defendant; (3) its application to the plaintiff; (4) understanding by
the recipient of its defamatory meaning; (5) understanding by the
recipient of it as intended to be applied to the plaintiff; (6) special harm
resulting to the plaintiff from its publication; and (7) abuse of a
conditionally privileged occasion. 42 PA.C.S. § 8343(a). A statement is
defamatory if it “tends to blacken a person’s reputation or expose him to
public hatred, contempt, or ridicule, or injure him in his business or

5 Pennsylvania courts apply a similar analysis to defamation and false
light claims. Hill v. Cosby, 665 F. App’x 169, 177 (3d Cir. 2016) (citations
omitted). While the claims differ in some respects, both fail due to the
same shortcomings here and are thus addressed together.
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profession.” Agriss v. Roadway Express, Inc., 483 A.2d 456, 461 (Pa.
Super. Ct. 1984).

     “When the implication alleged by the plaintiff is not reasonably
susceptible of a defamatory meaning, the plaintiff has failed to state a
claim.” Pace v. Baker-White, 432 F. Supp. 3d 495, 510 (E.D. Pa. 2020)
(subsequent history omitted). “The nature of the audience seeing or
hearing the remarks is [] a critical factor in assessing whether a
communication is capable of a defamatory meaning. The test is the effect

the article is fairly calculated to produce, the impression it would
naturally engender, in the minds of the average persons among whom it
is intended to circulate.” Agriss, 483 A.2d at 461–62 (citations and
internal quotations omitted).
     Similarly, the tort of false-light invasion of privacy requires
“publicity that unreasonably places the other in a false light before the
public,” and “[t]he elements to be proven are publicity, given to private
facts, which would be highly offensive to a reasonable person and which
are not of legitimate concern to the public.” Strickland v. Univ. of
Scranton, 700 A.2d 979, 987 (Pa. Super. Ct. 1997) (citation omitted).
     Mr. Hadnagy’s defamation and false light claims fail for at least
three reasons. First, the Ban Announcement is not reasonably
susceptible of a defamatory meaning or highly offensive to a reasonable
person because it is not suggestive of sexual or “abhorrent” conduct. The
Ban Announcement does not reference any such conduct. Nor does it refer

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to gender or other identifiers implying a sexual nature to the allegations
against Mr. Hadnagy. To the contrary. The Ban Announcement states

Def Con banned Mr. Hadnagy for Code of Conduct violations, and the
Code of Conduct prohibits “harassment” generally—which is defined as
deliberately intimidating or targeting individuals in a manner that
makes them feel uncomfortable, unwelcome, or afraid. Ex. 1 (screenshot
of Code of Conduct). The word “sexual” is absent from the Code of
Conduct; the term “harassment” is broadly defined; and the Code of

Conduct applies to “everyone.” Id. The Code of Conduct is easily
available, easy to read, and easy to understand. Notwithstanding Mr.
Hadnagy’s allegations, the Ban Announcement cannot plausibly be read
as referring specifically to sexual harassment or other abhorrent conduct.
The link is absent, and Mr. Hadnagy admits as much when he alleges—
on information and belief—that third parties had to “assume” the conduct
was sexual in nature or abhorrent. Compl. ¶¶ 58–59.
     Second, the Ban Announcement is a non-actionable opinion. Cases
in which challenged statements feature equivocal or cautionary language
are routinely dismissed because the statements are non-actionable
opinions. Pace, 432 F. Supp. 3d at 512–13. It is apparent from the Ban
Announcement itself that Def Con was interpreting the results of its own
investigation, expressing its own subjective view regarding the alleged
Code of Conduct violations, and not claiming to be in possession of
“objectively verifiable facts.” Indeed, the Ban Announcement notes that

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conversations occurred with the reporting parties and Mr. Hadnagy, and
Def Con was confident in its decision, not certain. Courts regularly

protect far more offensive insinuations as protected opinion. See, e.g.,
Purcell v. Ewing, 560 F. Supp. 2d 337, 342 (M.D. Pa. 2008) (finding
statements that alumnus looked like “someone accused of child
molestation” was non-actionable opinion); In re Maze, Civ. A. Nos. 98-
33715, 99-1825, 1999 WL 554600, at *2 (E.D. Pa. July 16, 1999) (finding
statement in letter that plaintiff failed to pay taxes, “which money he

seemingly misappropriated from his employees[,]” was non-actionable
opinion).
     Third, Mr. Hadnagy has failed to plead the “abuse of a conditionally
privileged occasion” element, and he cannot plausibly do so. “A
conditional privilege attaches to communications made on a proper
occasion, from a proper motive, and in a proper manner . . . whenever
circumstances are such as to lead any one of several persons having a
common interest in a particular subject matter correctly or reasonably to
believe that facts exist which another sharing such common interest is
entitled to know.” Tucker v. Merck & Co., 102 F. App’x 247, 253–54 (3d
Cir. 2004). “Thus, proper occasions giving rise to a conditional privilege
exist when (1) some interest of the person who publishes defamatory
matter is involved; (2) some interest of the person to whom the matter is
published or some other third person is involved; or (3) a recognized



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interest of the public is involved.” Beckman v. Dunn, 276 Pa. Super. 527,
536, 419 A.2d 583, 588 (1980).

     Here, Def Con’s Ban Announcement concerned Mr. Hadnagy’s
attendance at future Def Con events; it related to the interest of members
of the information security community to be free from harassment; and
it was a decision of interest for the information security public. The Ban
Announcement is conditionally privileged.
     Finally, Mr. Hadnagy has failed to adequately plead the false light

claim. The only facts disclosed were of “legitimate concern” in the
information security community. According to the Complaint, Mr.
Hadnagy led one of the most popular attractions at the most popular
hacker conference in the world. Given his position of power, the
transgressions alluded to in the Ban Announcement were plainly of
legitimate concern to Def Con attendees and Def Con itself.

           3.    The tortious interference claims.

     Mr. Hadnagy alleges that Defendants tortiously interfered with his
third-party contracts despite having no discernable motive or economic
benefit to do so. The tortious interference claims fail as a matter of law.
     The elements of intentional or tortious interference with
contractual relations are (1) the existence of a contractual relationship

between the complainant and a third party; (2) an intent on the part of
the defendant to harm the plaintiff by interfering with that contractual
relationship; (3) the absence of privilege or justification on the part of the

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defendant; and (4) the occasioning of actual damage as a result of
defendant’s conduct. Empire Trucking Co. v. Reading Anthracite Coal

Co., 2013 PA Super 148, 71 A.3d 923, 932–33 (2013) (emphases added).
“Intentional” and “tortious” interference with contract claims are not
different claims in Pennsylvania and will be addressed together. 6 Int’l

Diamond Imps., Ltd. v. Singularity Clark, L.P., 2012 PA Super 71, 40
A.3d 1261, 1275–76 (2012).
     Mr. Hadnagy has failed to plead the requisite “intent . . . to harm
the plaintiff by interfering with that contractual relationship” other than
in a conclusory and inadequate manner. See, e.g., Compl. ¶ 96 (alleging,
“upon information and belief,” and without elaboration, that Defendants’
conduct “was calculated and intended to harm Plaintiffs’ reputation and
business relationships for [Defendants’] benefit.”) Mr. Hadnagy vaguely
alleges that Defendants “intentionally interfered with Plaintiff’s

contractual relationships[.]” Id. ¶ 86.     But—per Mr. Hadnagy’s own
allegations—the purpose of the Ban Announcement was to replace S-E’s
“village” at Def Con conferences. Id. ¶ 53. This has nothing to do with any

intent to interfere with Mr. Hadnagy’s third-party contracts, such as with
Northern Trust, see id. ¶ 72, or any other third parties.



6 Accordingly, Mr. Hadnagy’s “intentional interference with contractual
relations” claim (Count II) and “tortious interference with contractual
relations” (Count III) claims are duplicative. One should be dismissed for
this reason alone.
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     Mr. Hadnagy alleges Def Con published the Ban Announcement
while knowing it would “undoubtedly interfere with Plaintiffs’ ability to

retain and grow its business,” but that is not the same as an intent to
harm Mr. Hadnagy by interfering with contractual negotiations. Intent
is required. Int’l Diamond Imps., 40 A.3d at 1275–76. Nor can Mr.
Hadnagy plausibly allege (nor has he done so except in a conclusory
fashion, see Compl. ¶ 94) that Defendants were aware of the third-party
contracts with which they’re accused of interfering. Mr. Hadnagy has

failed to plead a plausible claim for relief for intentional interference with
contractual relations, and the claim should be dismissed with prejudice.

           4.    The intentional infliction of emotional distress (“IIED”)
                 claim.
     Mr. Hadnagy asks the Court to do what no other state or federal
court in Pennsylvania has done: recognize an IIED claim arising from an
allegedly defamatory statement.
     To prove an IIED claim, the following elements must be
established: (1) the conduct must be extreme and outrageous; (2) it must

be intentional or reckless; (3) it must cause emotional distress; and (4)
that distress must be severe. Hooten v. Pa. Col. of Optometry, 601 F.
Supp. 1151, 1154–55 (E.D. Pa. 1984). For an IIED claim to survive, the

court must find that the alleged misconduct is so extreme and outrageous
that it “go[es] beyond all possible bounds of decency, and . . . [is] regarded
as atrocious, and utterly intolerable in a civilized society.” Wilkes v. State

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Farm Ins. Cos., No. 05–586, 2005 WL 1667396, at *4 (M.D. Pa. July 15,
2005) (citation and internal quotation marks omitted). Pennsylvania

courts have found extreme and outrageous conduct “only in the most
egregious of situations, such as mishandling of a corpse, reckless
diagnosis of a fatal disease, and having sexual contact with young
children.” Cheney v. Daily News L.P., 654 F. App’x 578, 583–84 (3d Cir.
2016). Moreover, Pennsylvania law requires some type of physical harm
to satisfy the severe emotional distress element. Di Loreto v. Costigan,

600 F. Supp. 2d 671, 691 (E.D. Pa.), aff’d, 351 F. App’x 747 (3d Cir. 2009).
Not a single Pennsylvania case has upheld an IIED claim predicated
upon allegedly defamatory language. Hill v. Cosby, No. 15c1658, 2016
WL 491728, at *9 (W.D. Pa. Feb. 9, 2016), aff’d, 665 F. App’x 169 (3d Cir.
2016).
     The Ban Announcement is not extreme and outrageous conduct,
period. The following corollary illustrates the point. As a general rule
under Pennsylvania law, sexual harassment does not rise to the level of
outrageousness necessary to make out a cause of action for intentional
infliction of emotional distress. Hoy v. Angelone, 456 Pa. Super. 596, 610–
11, 691 A.2d 476, 483 (1997) (subsequent history omitted). If sexual
harassment itself is not sufficiently “outrageous” for intentional infliction
of emotional distress purposes, the allegation that Defendants implied
Plaintiffs had sexually harassed unknown parties assuredly falls short.
Compl. ¶ 75 (statement “inescapably implies” that Defendants’ acts were

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“outrageous.”). Mr. Hadnagy’s theory posits that it is more “outrageous”
to post a statement allegedly insinuating that Mr. Hadnagy sexually

harassed someone than it is to actually sexually harass someone. That is
not the law.
      Moreover, Mr. Hadnagy has failed to plead physical injury or harm
resulting from the IIED claim, as Pennsylvania law requires. See, e.g.,
Reedy v. Evanson, 615 F.3d 197, 232 (3d Cir. 2010) (affirming dismissal
of a plaintiff’s IIED claim based on alleged police misconduct against her

because the plaintiff “has not pointed to any physical harm she suffered
as a result of police conduct and, for that reason alone, her intentional
infliction of emotional distress claim fails as a matter of law.”); Di Loreto,
600 F. Supp. 2d at 691 (“Plaintiff's failure to show that she suffered any
physical harm necessitates dismissal of her IIED claim”); Dixon v.
Boscov’s, Inc., Civ. A. No. 02–1222, 2002 WL 1740583, at *3 (E.D. Pa.
July 17, 2002) (holding that complaint that failed to allege any physical
injury did not state a claim for IIED under Pennsylvania law); Reeves v.
Middletown Athletic Ass’n, 2004 PA Super 475, ¶ 17, 866 A.2d 1115,
1122–23 (2004) (stating that a plaintiff must suffer some type of resulting
physical harm due to the defendant’s outrageous conduct); Fulton v.
United States, 198 F. App’x 210, 215 (3d Cir. 2006) (per curiam) (“In
Pennsylvania, both intentional and negligent infliction of emotional
distress requires a manifestation of physical impairment resulting from
the distress”).

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      Mr. Hadnagy’s IIED claim should be dismissed with prejudice.

V.    CONCLUSION

      For the foregoing reasons, Defendants respectfully request that the

 Court dismiss this case for lack of personal jurisdiction. If the Court finds
 personal jurisdiction, Defendants respectfully request that the Court
 dismiss the claims against Defendants with prejudice.

      DATED: October 11, 2022.
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